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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PHIL MICKELSON, et al.,                           Case No. 22-cv-04486-BLF (SVK)
                                   8                    Plaintiffs,
                                                                                           ORDER FOLLOWING DISCOVERY
                                   9             v.                                        HEARING
                                  10     PGA TOUR, INC.,                                   Re: Dkt. No. 112
                                  11                    Defendant.

                                  12          On October 14, 2022, the Court held a hearing on the Parties’ dispute regarding Plaintiff
Northern District of California
 United States District Court




                                  13   LIV’s Interrogatory no. 1. Dkt. 112. The Court had the benefit of the Parties’ joint submission, in

                                  14   addition to Counsels’ well-informed responses to the Court’s inquiries and oral argument. The

                                  15   Court’s rulings were articulated on the record and are summarized herein for the Parties’ and the

                                  16   Court’s ease of reference. Accordingly, based upon the inputs identified above, the Court

                                  17   ORDERS as follows:

                                  18          1. By 12 p.m. (PDT) on October 19, 2022, Defendant Tour is to identify in a verified

                                  19              interrogatory response all individuals who were authorized to speak on behalf of the

                                  20              Tour during the relevant time period (September 1, 2019-present; “Time Period”)

                                  21              regarding competitive or potentially competitive tours. The interrogatory response will
                                                  indicate which individuals had verbal, in addition to written, communications
                                  22
                                                  regarding competitive or potentially competitive tours during the Time Period.
                                  23
                                                  Defendant Tour must also email a copy of the verified interrogatory response to the
                                  24
                                                  undersigned’s courtroom deputy (svkcrd@cand.uscourts.gov).
                                  25
                                              2. The subject matter of responsive communications will be subject to further meet and
                                  26
                                                  confer between the Parties in accordance with the guidelines provided by the Court at
                                  27
                                                  the hearing. In sum, the subject matter will be broader than “LIV, PGL and Saudi Golf
                                  28
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                                   1               League” but not as broad as the “New Tour” definition in Interrogatory no. 1.

                                   2           3. The list of relevant parties to whom responsive communications were directed will be

                                   3               subject to further meet and confer between the Parties in accordance with the

                                   4               guidelines provided by the Court at the hearing. In sum, the list will be narrower and,

                                   5               where feasible, more specific, than the categories set forth as (a)-(q) in Interrogatory

                                   6               no. 1.

                                   7           The Parties are directed to continue their robust meet and confer efforts to refine and

                                   8   respond to Interrogatory no. 1 expeditiously. Any unresolved issues may be brought to the

                                   9   Court’s attention in a joint submission by 12 p.m. (PDT) on October 21, 2022 and will be
                                       addressed at an in-person hearing on Monday, October 24, 2022 at 1:30 p.m.1 Counsel
                                  10
                                       appearing at the hearing must have authority to negotiate and compromise and must be prepared to
                                  11
                                       remain at Court as long as necessary to engage in meaningful meet and confer efforts to bring this
                                  12
Northern District of California
 United States District Court




                                       issue to a final resolution.
                                  13
                                               SO ORDERED.
                                  14
                                       Dated: October 14, 2022
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                                                                                                     SUSAN VAN KEULEN
                                  18                                                                 United States Magistrate Judge

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                                        The Court’s availability for a further hearing on this matter, if needed, has changed from the date
                                       and time discussed at the hearing.
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